                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                              CASE NO. 3:19-CV-012-GCM


PAIGE L. PAHLKE, et al.,                         )
                                                 )
                       Plaintiffs,               )
                                                 )   CONSENT PROTECTIVE ORDER
       v.                                        )   GOVERNING RELEASE OF SBI
                                                 )   INVESTIGATIVE FILE
JAMES PAUL BLAIR, et al.,                        )
                                                 )
                       Defendants.               )


       Plaintiffs Karen Vaughn and Jane Doe, by and through her Guardian ad litem, Paige L.

Pahlke, and Defendants City of Lowell and Scott Bates, by and through their undersigned counsel,

and the North Carolina State Bureau of Investigation (“SBI”), by and through its undersigned

counsel, stipulate to the entry of this consent order allowing release of SBI Case No. 2016-01880

(“the file”) to counsel for the Plaintiff and Defendants.

       Counsel for the parties and counsel for the SBI further stipulate and agree to the following

statements for purposes of this Court’s entry of the consent order:

       1.      The file pertains to the subject matter involved in the case before this Court.

       2.      Counsel for the SBI, after reviewing the file, has no objection to providing it to the

               parties herein for the following reasons:

               A.      No policy reason exists for denial of the parties’ request.

               B.      There is no prejudice to the SBI by releasing the file.

               C.      There are no identities of persons contained in the file which need to be

                       protected.

               D.      The criminal investigation which was the subject of the file has been



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             concluded; and

      E      The interests of the State of North Carolina are not prejudiced in any way

             by release of the file to the parties herein.

3.    Except as may be otherwise provided by further order of the Court, documents

      contained within the file shall be used for no purpose other than prosecuting or

      defending this action and shall be disclosed only to the persons identified in

      Paragraphs 4 and 5 below.

4.    Access to and the use of any documents, or any part thereof, of the file shall be

      limited to:

      A.     the court,

      B.     the parties, parties’ potential witnesses, attorneys of record for the parties,

      any associated counsel and any employees or agents of such attorneys and counsel,

      C.     court-appointed mediators,

      D.     consultants, technical and expert witnesses involved in the preparation of

             this action,

      E.     court reporters, their transcribers, assistants, and employees,

      F.     any potential or actual deposition or trial witness to the extent that it is

             necessary to tender to such witness as an exhibit a document from the file

             in order to elicit testimony relevant to the matters at issue in this case, and

      G.     the jury.

5.    Counsel may make copies of the file for the Plaintiffs’ or Defendants’ experts upon

      receiving from same written agreement that they will be bound by the terms of this

      Protective Order. The requirement of obtaining such an agreement shall be satisfied



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       by having each of the Plaintiffs’ or Defendants’ experts read, acknowledge, and

       agree in writing to be bound by this Protective Order. A file of all such written

       acknowledgements shall be maintained by Plaintiffs’ or Defendants’ counsel. By

       signing the declaration agreeing to be bound by this Protective Order, each of the

       Plaintiffs’ or Defendants’ experts submits himself or herself to the jurisdiction of

       this Court for the purposes of enforcement of this Protective Order.

6.     Experts who are permitted access to the file are hereby ordered not to show, convey,

       or reproduce any documents so designated or parts thereof, or copies thereof, or

       any matters contained therein, or any extracts or summaries thereof, to any

       individual, or to any entity that would not otherwise have access to said documents

       under the provisions of this Protective Order.

7.     At the conclusion of this litigation, including any appeal(s), all copies of the file

       possessed by the parties, their attorneys, and experts, shall be destroyed.

8.     This protective order does not in any way attempt to address the admissibility of

       the file in whole or in part under the Federal Rules of Evidence.

       IT IS THEREFORE ORDERED that the undersigned counsel for the North

Carolina State Bureau of Investigation produce a copy of SBI Case No. 2016-01880 to the

attorneys for the parties indicated below.

                                      Signed: August 20, 2019




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                             CONSENTED TO:
                             s/ J. Joy Strickland
                             J. Joy Strickland, Deputy General Counsel
                             North Carolina State Bureau of Investigation

                             s/ Paul A. Tharp
                             Paul A. Tharp
                             Attorney for Plaintiffs


                             s/ Scott D. MacLatchie
                             Scott D. MacLatchie
                             Attorney for Defendants City of Lowell and Scott
                             Bates




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